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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION

IMPERIUM INSURANCE COMPANY                                          PLAINTIFF

VS.                                          CIVIL ACTION NO: 1:14-cv83-SA-DAS

JASON SHELTON, SHELTON & ASSOCIATES,
P.A.; and KAREN CAVINESS, ADMINISTRATRIX
OF THE ESTATE OF MAMIE KATHERINE CHISM,
DECEASED                                                         DEFENDANTS

DEFENDANT, KAREN CAVINESS, ADMINISTRATRIX OF THE ESTATE
         OF MAMIE KATHERINE CHISM, DECEASED,
 ANSWER TO COMPLAINT FOR DECLARATORY JUDGMENT

      Defendant, Karen Caviness, Administratrix of the Estate of Mamie

Katherine Chism, Deceased, (“Karen Caviness”) responds to Plaintiff’s

Complaint as follows:

                        FIRST AFFIRMATIVE DEFENSE

      The Complaint fails to state a claim or cause of action against Karen

Caviness upon which relief can be granted.

                     SECOND AFFIRMATIVE DEFENSE

      Karen Caviness reserves and plead all affirmative defenses listed in

Fed. R. Civ. P. 8(c), including accord and satisfaction, assumption of risk,

contributory negligence, duress, estoppel, fraud, laches, waiver and any other

matter constituting an affirmative defense including, but not limited to,

statute of limitations.

      Karen Caviness “(Caviness”) responds to the Complaint, paragraph by

paragraph, as follows:
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      1.    Caviness is without sufficient information to admit or deny the

allegations in paragraph 1.

      2.    Admitted.

      3.    Admitted.

      4.    Admitted.

      5.    Admitted.

      6.    Admitted.

      7.    Caviness is without sufficient information to admit or deny the

allegations in paragraph 7.

      8.    Admitted.

      9.    Admitted.

      10.   Admitted.

      11.   Admitted.

      12.   Admitted.

      13.   Admitted.

      14.   Admitted.

      15.   Admitted.

      16.   Admitted.

      17.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 17.

      18.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 18.




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      19.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 19.

      20.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 20.

      21.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 21.

      22.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 22.

      23.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 23.

      24.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 24.

      25.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 25.

      26.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 26.

      27.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 27.

      28.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 28.

      29.   Caviness adopts her prior responses.




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      30.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 30.

      31.   Caviness adopts her prior responses.

      32.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 32.

      33.   Caviness adopts her prior responses.

      34.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 34.

      35.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 35.

      36.   Caviness is without sufficient information to admit or deny the

allegations in paragraph 36.

      Caviness denies the final unnumbered paragraph of the Complaint,

denies that Imperium is entitled to any relief or recovery from Caviness and

demands that the Complaint be dismissed with prejudice with costs assessed

to Imperium.

      WHEREFORE, PREMISES CONSIDERED, Karen Caviness demands

judgment dismissing the Complaint with prejudice, with all costs assessed to

Imperium Insurance Company.




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       This the 1st day of July, 2014.

                                         Respectfully Submitted,

                                         KAREN CAVINESS, on behalf of the
                                         Estate of Mamie Chism, deceased

                                         By Her Attorney,


                                         /s/ Philip W. Thomas
                                         PHILIP W. THOMAS
                                         MSB No. 9667



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                           CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing document with

the Clerk of the Court using the ECF system which sent notification of such

filing to the following:

       Stuart Robinson, Jr.
       WELLS MARBLE & HURST, PLLC
       Post Office Box 131
       Jackson, Mississippi 39205-0131
       srobinson@wellsmar.com

       This the 1st day of July, 2014.


                                         /s/ Philip W. Thomas
                                         PHILIP W. THOMAS


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